                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 1                      )
                                                         )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                  )
                                                         )
        Debtor.                                          )       CHAPTER 11
                                                         )




          FIRST AMENDED JOINT PLAN OF REORGANIZATION OF DEBTORS
                 SARAI SERVICES GROUP, INC., SSGWWJV LLC, AND
                        SARAI INVESTMENT CORPORATION




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Dated: October 14, 2019




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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.


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                       IN THE UNITED STATES BANKRUPTCY COURT
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In re: SARAI SERVICES GROUP, INC. 2                      )
                                                         )       Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                  )
                                                         )
        Debtor.                                          )       CHAPTER 11
                                                         )

           FIRST AMENDED JOINT PLAN OF REORGANIZATION OF DEBTORS
                  SARAI SERVICES GROUP, INC., SSGWWJV LLC, AND
                         SARAI INVESTMENT CORPORATION



THE COURT ADMINISTRATIVELY CONSOLIDATED THE BANKRUPTCY CASES FOR
DEBTORS SARAI SERVICES GROUP, INC., SSGWWJV, LLC, CM HOLDING, INC., AND
SARAI INVESTMENT CORPORATION INTO ONE MATTER FOR THE CONVENIENCE
OF THE PARTIES INVOLVED; AS OF THIS FILING, NO PARTIES-IN-INTEREST HAVE
SOUGHT, AND THE COURT HAS NOT ORDERED, SUBSTANTIVE CONSOLIDATION
OF THESE FOUR SEPARATE CASES.



        Sarai Services Group, Inc., SSGWWJV LLC, and Sarai Investment Corporation (collectively,
the “Debtor”), as Debtor and Debtor-in-Possession, propose this First Amended Plan of
Reorganization (the "Plan") pursuant to Section 1121(a) of Title 11 of the United States Code for the
resolution of the Debtor’s outstanding creditor claims and equity interests. Reference is made to the
Debtor’s Disclosure Statement (the "Disclosure Statement") for a discussion of the Debtor’s history,
business, properties and results of operations, and for a summary of this Plan and certain related
matters.

        All holders of claims and interests are encouraged to read the Plan and the Disclosure
Statement in their entirety before voting to accept or reject this Plan. No materials, other than the
Disclosure Statement and any exhibits and schedules attached thereto or referenced therein, have
been approved by the Debtor for use in soliciting acceptances or rejections of this Plan.


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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
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                                             ARTICLE 1
                                            DEFINITIONS

        As used herein, the following terms have the respective meanings specified below, and such
meanings shall be equally applicable to both the singular and plural, and masculine and feminine,
forms of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and others of similar
import, refer to the Plan as a whole and not to any particular section, subsection or clause contained
in the Plan. Captions and headings to articles, sections and exhibits are inserted for convenience of
reference only and are not intended to be part of or to affect the interpretation of the Plan. The rules
of construction set forth in Section 102 of the Bankruptcy Code shall apply. In computing any period
of time prescribed or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.
Any capitalized term used but not defined herein shall have the meaning ascribed to such term in the
Bankruptcy Code. In addition to such other terms as are defined in other sections of the Plan, the
following capitalized terms have the following meanings when used in the Plan.

        1.1     "Administrative Claim" means a Claim for costs and expenses of administration
allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(1) of the
Bankruptcy Code.

        1.2     "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim that
has been allowed by a Final Order.

        1.3     "Ballots" means the written Ballots for acceptance or rejection of the Plan.

        1.4     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
effect or hereafter amended.

        1.5     "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
United States District Court for said District having original jurisdiction over this case.

        1.6     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy
Procedure, and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the
Reorganization Case.

        1.7     "Business Day" means any day, other than a Saturday, Sunday or "legal holiday" (as
defined in Bankruptcy Rule 9006(a)).

        1.8     "Cash" means cash, wire transfer, certified check, cash equivalents and other readily
marketable securities or instruments, including, without limitation, readily marketable direct



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obligations of the United States of America, certificates of deposit issued by banks, and commercial
paper of any Person, including interests accrued or earned thereon, or a check from the Debtor.

       1.9     "Claim" means any right to payment from the Debtor arising before the Confirmation
Date, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, contested, uncontested, legal, equitable, secured, or unsecured; or any right to
an equitable remedy for breach of performance if such breach gives rise to a right of payment from
the Debtor prior to the Confirmation Date, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, contested, uncontested, secured or
unsecured.

       1.10    "Class" means one of the classes of Claims or Interests defined in Article III hereof.

       1.11    "Confirmation" means the entry of a Confirmation Order confirming this Plan at or
after a hearing pursuant to Section 1129 of the Bankruptcy Code.

       1.12    "Confirmation Date" means the date the Confirmation Order is entered on the docket
of the Bankruptcy Court.

       1.13    "Confirmation Order" means the order entered by the Bankruptcy Court confirming
the Plan pursuant to Section 1129 of the Bankruptcy Code.

       1.14    "Debtor" means Sarai Services Group, Inc., SSGWWJV LLC, and Sarai Investment
Corporation, collectively.

       1.15    "Disclosure Statement" means the Disclosure Statement filed by the Debtor as
approved by the Bankruptcy Court for submission to the Creditors, interest holders, and parties-in-
interest of the Debtor, as it may have been amended or supplemented from time to time.

       1.16    "Disputed Claim" means a Claim as to which a proof of claim has been Filed or
deemed Filed under applicable law, as to which an objection has been or may be timely Filed and
which objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing such
objections by the Plan or Order of the Bankruptcy Court and has not been overruled or denied by a
Final Order. Prior to the time that an objection has been or may be timely Filed, for the purposes of
this Plan, a Claim shall be considered a Disputed Claim to the extent that: (i) the amount of the Claim
specified in the proof of claim exceeds the amount of any corresponding Claim listed by the Debtor
in their respective Schedules to the extent of such excess; (ii) any corresponding Claim listed by the
Debtor in their respective Schedules has been scheduled as disputed, contingent, or unliquidated,
irrespective of the amount scheduled; or (iii) no corresponding Claim has been listed by the Debtor in



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the respective Schedules. Disputed Claims also includes Claims subject to a pending action for
equitable subordination of such Claims.

       1.17    “Distributions" means the properties or interests in property to be paid or distributed
hereunder to the holders of Allowed Claims.

       1.18    “Docket" means the docket in the Reorganization Case maintained by the Clerk.

       1.19    "Effective Date" means the twentieth (20th) business day after an Order confirming
this Plan becomes final and no longer open for appeal, stay or reconsideration in accordance with the
Federal Rules of Bankruptcy Procedure and/or the Federal Rules of Appellate Procedure.

       1.20    "Estate" means the estate created in this Reorganization Case under Section 541 of
the Bankruptcy Code.

       1.21    "Executory Contract" means any unexpired lease and/or executory contract as set
forth in Section 365 of the Code.

       1.22    "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization Case.

       1.23    "Final Order" means an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not been
reversed, stayed, modified or amended.

       1.24    "Impaired" as to a Class means the Plan alters the legal, equitable or contractual
rights of a Claim or Interest holder within the meaning of 11 U.S.C. § 1124.

       1.25    "Order" means an order or judgment of the Bankruptcy Court as entered on the
Docket.

       1.26    "Person" means any individual, corporation, general partnership, limited partnership,
association, joint stock company, joint venture, estate, trust, indenture trustee, government or any
political subdivision, governmental unit (as defined in the Bankruptcy Code).

       1.27    "Petition Date" means October 3, 2018, the date on which Debtor filed the voluntary
Chapter 11 petition.

       1.28    "Plan" means this Plan of Reorganization in its present form, or as it may be
amended, modified, and/or supplemented from time to time in accordance with the Bankruptcy Code,
or by agreement of all affected parties, or by order of the Bankruptcy Court, as the case may be.

       1.29    "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.



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        1.30    "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a) of
the Bankruptcy Code, other than an Administrative Claim or a Tax Claim.

        1.31    "Pro Rata" means proportionately, based on the percentage of the distribution made
on account of a particular Allowed Claim bears to the distributions made on account of all Allowed
Claims of the Class in which the Allowed Claim is included.

        1.32    "Rejection Claim" means a Claim resulting from the rejection of a lease or executory
contract by the Debtor.

        1.33    "Reorganization Case" means, collectively, the Debtor’s case under Chapter 11 of the
Bankruptcy Code that was commenced on the Petition Date.

        1.34    "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
Affairs and Statement of Executory Contracts that may be filed by the Debtor with the Bankruptcy
Court, as amended or supplemented on or before the Confirmation Date, listing the liabilities and
assets of the Debtor.

        1.35    "Secured Claim" means any Claim that is secured by a lien on property in which the
Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to the
extent of the value of the Claim holder's interest in the Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to Section 506(a) of the
Bankruptcy Code.

        1.36    "Security Agreement" means the documentation under which a lien against property
is reflected.

        1.37    "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental entity
as provided by Section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental entity
secured by a lien on property of the Debtor under applicable state law.

        1.38    "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
Claim, Pre-Petition Tax Claim or Secured Claim.

        1.39    “SSG” means Sarai Services Group, Inc.

        1.40    “SIC” means Sarai Investment Corporation.




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                                      ARTICLE 2
                                    TREATMENT OF
                            ADMINISTRATIVE EXPENSE CLAIMS
                               AND PRIORITY TAX CLAIMS.
       2.1     Administrative Expense Claims.

       Except to the extent that a holder of an allowed administrative expense claim has been paid
by a Debtor prior to the Effective Date or agrees to less favorable treatment, as provided for by this
Plan, each holder of an allowed administrative expense claim shall receive cash from the Debtor
obligated for the payment of such allowed administrative expense claim in an amount equal to the
allowed amount of such administrative expense claim on the later of the Effective Date and the date
such administrative expense claim becomes an allowed administrative expense claim, or as soon
thereafter as is practicable; provided, however, that allowed administrative expense claims
representing liabilities incurred in the ordinary course of business by a Debtor or other obligations
incurred by such Debtor shall be paid in full and performed by such Debtor in the ordinary course of
business in accordance with the terms and subject to the conditions of any agreements governing,
instruments evidencing, or other documents relating to such transactions.

       2.2    Professional Compensation and Reimbursement Claims.

       Any entity seeking an award of the Bankruptcy Court of compensation for services rendered
and/or reimbursement of expenses incurred on behalf of the Debtor and any Creditors’ Committee
through and including the Effective Date under Section 105(a), 363(b), 503(b)(2), 503(b)(3),
503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final application for allowance of
such compensation and/or reimbursement by no later than the date that is 120 days after the Effective
Date or such other date as may be fixed by the Bankruptcy Court, and (b) be paid by or on behalf of
the Debtor in full and in cash in the amounts allowed upon (i) the date the order granting such award
becomes a final order, or as soon thereafter as practicable, or (ii) such other terms as may be
mutually agreed upon by the claimant and the Debtor obligated for the payment of such allowed
claim. The Debtor is authorized to pay compensation for professional services rendered and
reimburse expenses incurred on behalf of the Debtor and the creditors’ committee after the Effective
Date in the ordinary course and without Bankruptcy Court approval.

       2.3     Priority Tax Claims.

       Except to the extent that a holder of an allowed priority tax claim has been paid prior to the
Effective Date or agrees to less favorable treatment, each holder of an allowed priority tax claim shall
receive from the debtor obligated for the payment of such claim, and at the sole option of such



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debtor, (i) cash in an amount equal to the allowed amount of such priority tax claim on the later of
the Effective Date and the date such priority tax claim becomes an allowed priority tax claim, or as
soon thereafter as is practicable, or (ii) equal cash payments to be made initially on the Effective
Date or as soon thereafter as practicable and monthly thereafter in an aggregate amount equal to such
allowed priority tax claim, together with interest at a fixed annual rate, over a period from the
Effective Date through the fifth anniversary after the Effective Date; provided, however, that such
election shall be without prejudice to the Debtor’s right to prepay such allowed priority tax claim in
full or in part without penalty.


                                           ARTICLE 3
                                        DESIGNATION OF
                                     CLAIMS AND INTERESTS
         3.1    The following is a designation of the classes of claims and interests under this Plan.
In accordance with Section 1123(a)(1) of the Bankruptcy Code, claims that are not impaired have
been noted and will not vote on the Plan. A claim or interest is classified in a particular class only to
the extent that the claim or interest qualifies within the description of that class, and is classified in
another class or classes to the extent that any remainder of the claim or interest qualifies within the
description of such other class or classes. A claim or interest is classified in a particular class only to
the extent that the claim or interest is an allowed claim or allowed interest in that class and has not
been paid, released or otherwise satisfied before the Effective Date; a claim or interest which is not
an allowed claim or interest is not in any Class. Notwithstanding anything to the contrary contained
in this Plan, no distribution shall be made on account of any claim or interest that is not an allowed
claim.

         A summary of the clerk’s Claims Register as of June 21, 2019 is attached to the Debtor’s
Disclosure Statement as Exhibit “D.” A number of creditors filed claims in either the main case, 18-
82948-CRJ-11, in the each of debtors’ individual cases (18-82948, 18-82949, 18-82950, and 18-
82951), or a combination of these cases. Ex. D lists the proper estate for each creditor claim. The
Debtor’s Plan will provide treatment for each allowed claim in accord with its listing in Ex. D and
not based in the case in which the creditor filed their claims.




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                      SARAI SERVICES GROUP, INC.

       Class             Impairment        Treatment


                                           The creditor in this Class will be paid in full its
                                           approved claim amount in equal monthly
                                           payments over the course of a 120-month term
                                           with interest accruing at the rate of Prime on
     Class 1 –
                        Claim # 6-1        the Effective Date, as published in the Wall
  Secured Claim
                        ($66,717.83)       Street Journal (5.50% as of July 19, 2019),
 Everest Business
                         Impaired          with a standard amortization schedule for the
     Funding
                                           term. Except as otherwise provided, this
                                           creditor will retain all security interests in any
                                           collateral. New payments will begin on the
                                           Effective Date.



                                           The creditor in this Class will be paid in full its
                                           approved claim amount in equal monthly
                                           payments over the course of a 120-month term
                                           with interest accruing at the rate of Prime on
     Class 2 –
                        Claim # 30-2       the Effective Date, as published in the Wall
  Secured Claim
                        (133,855.00)       Street Journal (5.50% as of July 19, 2019),
Pearl Delta Funding
                         Impaired          with a standard amortization schedule for the
       LLC
                                           term. Except as otherwise provided, this
                                           creditor will retain all security interests in any
                                           collateral. New payments will begin on the
                                           Effective Date.



     Class 3 –                             The creditor in this Class will be paid in full its
                        Claim # 40-1
  Secured Claim                            approved claim amount in equal monthly
                        ($3,041.79)
 Lynda Hall, Tax                           payments over the course of a 60-month term
                         Impaired
     Collector                             with interest accruing at the rate of Prime on


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                                                 the Effective Date, as published in the Wall
                                                 Street Journal (5.50% as of July 19, 2019),
                                                 with a standard amortization schedule for the
                                                 term. Except as otherwise provided, this
                                                 creditor will retain all security interests in any
                                                 collateral. New payments will begin on the
                                                 Effective Date.



                                                 The creditor in this Class will be paid in full its
                                                 approved claim amount in equal monthly
                                                 payments over the course of a 120-month term
     Class 4 –
                          Claim # 43-1           with interest accruing at the claim’s contractual
  Secured Claim
                          ($79,344.45)           rate of 4.50%, with a standard amortization
 CenterState Bank,
                            Impaired             schedule for the term. Except as otherwise
       N.A.
                                                 provided, this creditor will retain all security
                                                 interests in any collateral. New payments will
                                                 begin on the Effective Date.



     Class 5 –             Claim # 8-1
                                                 The creditor in this Class will be paid in full its
Unsecured Priority          ($253.13)
                                                 approved claim amount within 60 days of the
    Tax Claim           Not Impaired, Not
                                                 Effective Date.
      ADOR               Entitled to Vote



                                                 The Debtor will file and amend of its prior
                                                 income and employment tax returns. It expects
     Class 6 –             Claim # 1-1           that these returns will extinguish this claim in
Unsecured Priority        ($437,043.28)          full. However, to the extent this claim remains
    Tax Claim        Impaired, Not Entitled to post-return filing and becomes a final allowed
       IRS                    Vote               claim, the claim will be paid in full its
                                                 approved amount in equal monthly payments
                                                 over the course of a 60-month term with
                                                 interest accruing at the rate of Prime on the




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                                                    Effective Date, as published in the Wall Street
                                                    Journal (5.50% as of July 19, 2019). New
                                                    payments will begin on the Effective Date.



                                                    The Debtor expects the U.S. Department of
                                                    Labor to satisfy many of the claims in this class
                                                    pursuant to the Court-approved settlement of
                                                    the dispute described above in this Disclosure
                                                    Statement.


                                                    The Debtor is further currently reviewing proof
                                                    of claim 34-1 filed by the U.S. Department of
                                                    Labor, on behalf of the WW Contractors Inc.
                                                    401(k) Plan because the Debtor disputes this
                                                    claim and the claim appears to be owed by an
                     Claims ## 16-1, 17-1, 20-
                                                    entity not a debtor-party to this case.
                     1, 32-1, 33-1, 34-1, 26-1,
    Class 7 –        29-1, 38-1, 47-1, and 48-2
                                                    To the extent the claims in this Class become
Unsecured Priority        (collectively,
                                                    final allowed claims not otherwise satisfied or
 Employee Claims         $1,818,931.72)
                                                    barred by claim objections, the creditors in this
                       Impaired, Entitled to
                                                    Class will be paid in full on their priority claim
                               Vote
                                                    amounts, to the extent allowed pursuant to 11
                                                    U.S.C. § 507, over the course of a 120 month
                                                    term in equal monthly payments with interest
                                                    accruing at the rate of Prime on the Effective
                                                    Date, as published in the Wall Street Journal
                                                    (5.50% as of July 19, 2019), with a standard
                                                    amortization schedule for the term. New
                                                    payments will begin on the Effective Date.


                                                    To the extent any portion of the claims in this
                                                    Class constitute non-priority, general unsecured
                                                    claims under 11 U.S.C. § 507, the general




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                                                     unsecured portion of these claims will receive
                                                     the same treatment as the General Unsecured
                                                     Creditor Class, listed below.



                                                     The creditor in this Class will be paid in full its
                                                     approved claim amount in equal monthly
                                                     payments over the course of a 120-month term
                                                     with interest accruing at the rate of Prime on
                                                     the Effective Date, as published in the Wall
                                                     Street Journal (5.50% as of July 19, 2019),
                                                     with a standard amortization schedule for the
    Class 8 –             Claim # 18-2
                                                     term. New payments will begin on the
Unsecured Priority        ($133,915.32)
                                                     Effective Date.
 Health Insurance           Impaired
  Plan Premiums
                                                     To the extent any portion of the claim in this
                                                     Class   constitutes   a   non-priority,    general
                                                     unsecured claim under 11 U.S.C. § 507, the
                                                     general unsecured portion of this claim will
                                                     receive the same treatment as the General
                                                     Unsecured Creditor Class, listed below.



                                                     Beginning on the Effective Date, the Debtor
                                                     will commence equal monthly payments of
                      Claims ## 1-1, 2-1, 8-1, $2,500.00, split and apportioned to the creditors
                      19-1, 31-1, 37-1, 41-1,        in this Class. The allowed claims will each
    Class 9 –
                             and 44-1                receive a pro-rata split of every $2,500.00
General Unsecured
                            (collectively            payment amount based on their claim’s
     Claims
                           $463,507.74)              proportionate share of the total allowed claims
                     Impaired, Entitled to Vote in this Class on the date that each individual
                                                     monthly     payment’s       issuance.     Monthly
                                                     payments of $2,500.00 will continue until
                                                     payment in full of all allowed claims in this




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                                                      Class. Beginning on the Effective Date, the
                                                      allowed claims in this Class with begin
                                                      accruing interest fixed as of that date at the rate
                                                      of Prime, as published in the Wall Street
                                                      Journal (5.50% as of July 19, 2019), with a
                                                      standard amortization schedule for the term.
                                                      The Debtor expects these payments to last for
                                                      an estimated term of 120 months.



                                                      Equity security holders will retain their shares
    Class 10 –                                        in Debtor. The equity interest holders’ rights to
Interests of Equity         Not Impaired;             receive any property from the Debtor will be
Interest Holders in     Not Entitled to Vote          predicated on all higher-priority claimants, as
     Debtor                                           defined by 11 U.S.C. § 507, being satisfied in
                                                      full on their allowed, approved claims.


                                     SSGWWJV LLC

       Class                 Impairment               Treatment


                      Claims ## 4-1, 5-1, 6-1,        The Debtor expects the U.S. Department of
                      7-1, 8-1, 9-1, 10-1, 11-1,      Labor to satisfy many of the claims in this class
                       12-1, 13-1, 14-1, 15-1,        pursuant to the Court-approved settlement of
                       16-1, 17-1, 18-1, 19-1,        the dispute described above in this Disclosure
    Class 1 –          20-1, 21-1, 23-1, 24-1,        Statement.
Unsecured Priority         26-1, and 28-1
 Employee Claims                 &                    To the extent the claims in this Class become
                       Claims ## filed in 18-         final allowed claims not otherwise satisfied or
                      82948: 7-1, 11-1, 12-1,         barred by claim objections, the creditors in this
                              and 13-1                Class will be paid in full on their priority claim
                            (collectively,            amounts, as allowed pursuant to 11 U.S.C. §
                            $140,047.30)              507, to the extent the Debtor has cash-in-hand
                        Impaired, Entitled to         available for distribution within 60 days of the



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                               Vote                   Effective Date. To the extent any claims in this
                                                      Class are not satisfied within 60 days of the
                                                      Effective Date, the Debtor will satisfy the
                                                      claims with proceeds from any settlement of its
                                                      pre-petition-date       litigation    with       WW
                                                      Contractors, Inc., as described above in this
                                                      Disclosure Statement.


                                                      To the extent any portion of the claims in this
                                                      Class constitute non-priority, general unsecured
                                                      claims under 11 U.S.C. § 507, the general
                                                      unsecured portion of these claims will receive
                                                      the same treatment as the General Unsecured
                                                      Creditor Class, listed below.



                      Claims ## 1-1, 2-1, 22-1, After the Debtor has satisfied all allowed
                       25-1, 29-1, 30-1, 31-1,        priority claims in Class 1, above, the creditors
                       32-1, 33-1, 34-1, 35-1,        in this Class will be paid in full on their
                           36-1, and 37-1             allowed claim amounts, to the extent the
                                 &                    Debtor    has       cash-in-hand     available   for
    Class 2 –          Claims ## filed in 18-         distribution within 60 days of the Effective
General Unsecured     82948: 23-2, 24-1, 25-1,        Date. To the extent any claims in this Class are
     Claims           27-1, 29-1, 36-1, 39-1,         not satisfied within 60 days of the Effective
                          45-1, and 46-1              Date, the Debtor will satisfy the claims with
                           (collectively,             proceeds from any settlement of its pre-
                           $703,995.43)               petition-date litigation with WW Contractors,
                       Impaired, Entitled to          Inc., as described above in this Disclosure
                               Vote                   Statement.



    Class 3 –                                         Equity security holders will retain their shares
                           Not Impaired;
Interests of Equity                                   in Debtor. The equity interest holders’ rights to
                        Not Entitled to Vote
Interest Holders in                                   receive any property from the Debtor will be




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      Debtor                                          predicated on all higher-priority claimants, as
                                                      defined by 11 U.S.C. § 507, being satisfied in
                                                      full on their allowed, approved claims.




                   SARAI INVESTMENT CORPORATION

       Class                 Impairment               Treatment


                                                      The Debtor owns no property to which these
                                                      creditors liens’ could attach. Further, the Texas
                                                      Workforce Commission and IRS failed to
                                                      properly perfected their liens in Madison
    Class 1 –                                         County, Alabama.
                      Claims ## 1-1, 5-1, 6-3,
 Secured Claims
                      and 14-1 ($270,441.00)
  ADOR, IRS, &                                        Upon the Effective Date, this Class will be
                             Impaired,
 Texas Workforce                                      extinguished, the creditors’ liens released, and
                        Not Entitled to Vote
   Commission                                         its claims will be reclassified as unsecured
                                                      priority tax claims or general unsecured claims,
                                                      in accord with the claims’ basis and the
                                                      Bankruptcy     Code’s    treatment    of   these
                                                      governmental claims.




    Class 2 –                                         The creditors in this Class will be paid in full
Unsecured Priority    Claims ## 2-1, 3-1, 7-1,        their allowed claim amounts from proceeds of
   Tax Claims                   and                   the Debtor’s IRS employment tax refund claim,
 ADOR, Michigan         Claim # filed in 18-          described above in this Disclosure Statement.
Dep’t of Tres., and     82948: 9-1 and 14-1           To the extent any claims in this class are not
Arkansas Dep’t of           ($65,365.85)              satisfied by the Debtor’s tax refunds, the
Finance and Adm.      Impaired, Not Entitled to Debtor will satisfy the claims in this class with
                                Vote                  proceeds from any settlement of its pre-
                                                      petition-date litigation with WW Contractors,



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                                                     Inc., as described above in this Disclosure
                                                     Statement.



                                                     The Debtor will file and amend of its prior
                                                     income and employment tax returns. It expects
                                                     that these returns will extinguish this claim in
                           Claim # 5-1
    Class 3 –                                        full. However, to the extent this claim remains
                         ($2,327,562.73)
Unsecured Priority                                   post-return filing and becomes a final allowed
                     Impaired, Not Entitled to
    Tax Claim                                        claim, the claim will receive the same treatment
                               Vote
       IRS                                           as the claims in Class 2, above, as if this claim
                                                     were included in that Class.



                                                     The creditors in this Class will be paid in full
                                                     on their priority claim amounts, to the extent
                                                     allowed pursuant to 11 U.S.C. § 507, from
                                                     proceeds of the Debtor’s IRS employment tax
                                                     refund   claim,   described     above   in   this
                                                     Disclosure Statement. To the extent any claims
                      Claims ## filed in 18-
                                                     in this Class are not satisfied by the Debtor’s
                     82948: 1-1, 5-1, and 10-
                                                     tax refunds, the Debtor will satisfy the claims
    Class 4 –                   1
                                                     with proceeds from any settlement of its pre-
Unsecured Priority         (collectively,
                                                     petition-date litigation with WW Contractors,
 Employee Claims           $33,222.14)
                                                     Inc., as described above in this Disclosure
                       Impaired, Entitled to
                                                     Statement.
                               Vote

                                                     To the extent any portion of the claims in this
                                                     Class constitute non-priority, general unsecured
                                                     claims under 11 U.S.C. § 507, the general
                                                     unsecured portion of these claims will receive
                                                     the same treatment as the General Unsecured
                                                     Creditor Class, listed below.




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                                                        After the Debtor has satisfied all allowed
                         Claims ## 2-1, 3-1, 7-1,
                                                        priority claims in the classes above, the Debtor
                        8-1, 10-1, 12-1, and 13-1;
                                                        will pay the creditors in this Class their allowed
                          Claims ## filed in 18-
                                                        claim amounts from proceeds of the Debtor’s
                                  82949: 3-1;
                                                        IRS employment tax refund claim, described
                                      and
      Class 5 –                                         above in this Disclosure Statement. To the
                          Claims ## filed in 18-
 General Unsecured                                      extent any claims in this Class are not satisfied
                        82948: 4-1, 9-1, 18-1, 21-
       Claims                                           by the Debtor’s tax refunds, the Debtor will
                         1, 22-1, 35-1, and 41-1
                                                        satisfy the claims with proceeds from any
                                  (collectively
                                                        settlement of its pre-petition-date litigation with
                                 $694,167.92)
                                                        WW Contractors, Inc., as described above in
                                   Impaired,
                                                        this Disclosure Statement.
                             Entitled to Vote



                                                        Equity security holders will retain their shares
                                                        in Debtor. The equity interest holders’ rights to
      Class 6 –
                                                        receive any property from the Debtor will be
 Interests of Equity             Not Impaired;
                                                        predicated on all higher-priority claimants, as
 Interest Holders in      Not Entitled to Vote
                                                        defined by 11 U.S.C. § 507, being satisfied in
       Debtor
                                                        full on their allowed, approved claims.



       The Debtor believes that confirmation of this Plan is in the best interest of all parties to this
matter. The Debtor has already undertaken substantial steps towards liquidating its claims against
WW Contractors, Inc. and preparing documentation for its IRS employment tax refund claim.

       Should a Chapter 11 trustee be appointed, or any of the individual-debtor cases convert to a
proceeding under Chapter 7 of the Bankruptcy Code, any successor-in-interest to the debtors-in-
possession will need to take duplicative actions to liquidate the Debtor’s assets, causing a waste of
resources and a delay in time.


       Accordingly, this Plan is expected to maximize value on the fastest timetable available.




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                                   ARTICLE 4
             DEBTOR’S RATIONAL FOR THE TREATMENT PROPOSED FOR THE
               CLASSES OF CLAIMS AND INTERESTS STATED IN THIS PLAN

         1. Secured Creditor Classes (SSG Classes 1-4; SIC Class 1).

         The creditor with claims in the secured classes will be paid in full on their allowed claims
because these creditors are secured for value in the Debtor’s property and is entitled to payment-in-
full under the Bankruptcy Code. 11 U.S.C. § 506(b).

         To the extent any claim in any of the secured classes is not secured for value in property of
the Debtor or its bankruptcy estate, that claim will be reclassified as an unsecured claim and receive
the same treatment as similarly situated unsecured class of creditor, pursuant to the plan terms,
above.

         2. Priority Unsecured Classes (SSG Classes 5-8; SSGWWJV Class 1; SIC Classes 2-4).

         The claims in the priority classes will be paid in full either according to: (1) the above-listed
payment plan, or (2) if the debtor in question liquidates, before any payments are made to junior-
priority creditors, in the order of priority listed in 11 U.S.C. § 507. The Bankruptcy Code requires
that the priority amounts of allowed unsecured claims must be satisfied either in full or that the Plan
contemplates payment in full before any distributions may be made to lessor-priority unsecured
creditors.

         3. General Unsecured Classes (SSG Class 9; SSGWWJV Class 2; SIC Class 5).

         The Plan proposes paying unsecured creditors in full either according to: (1) the above-listed
payment plan, or (2) if the debtor in question liquidates, after satisfaction of all allowed senior-
priority claims, in the order of priority stated in 11 U.S.C. § 507. The Bankruptcy Code requires that
the allowed senior-priority claims are either satisfied in full or that the Plan contemplates payment in
full before any distributions may be made to general unsecured creditors.

         4. Equity Security Holders Classes (SSG Class 10; SSGWWJV Class 3; SIC Class 6).

         The equity security holders will retain their shares in the Debtor. The equity interest holders’
rights to receive any property from the Debtor will be predicated on all higher-priority claimants, as
defined by 11 U.S.C. § 507, being satisfied in full on their allowed claims, or that the Plan
contemplates payment in full, before distributions may be made to these interest holders.




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                                   ARTICLE 5
                        ACCEPTANCE OR REJECTION OF THE PLAN

        The holders of Claims in all impaired Classes entitled to vote and listed above may vote to
accept or reject the Plan.


                                       ARTICLE 6
                                MEANS FOR EXECUTION AND
                               IMPLEMENTATION OF THE PLAN

        6.1     Funding of the Distribution. On the Effective Date, the Debtor shall first fund
payments to the holders of Allowed Administrative Claims.

        6.2     Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On the
Effective Date, the Debtor shall be authorized and directed to take all necessary and appropriate
actions to effectuate the transactions contemplated by the Plan and Disclosure Statement.

        6.3     Preservation of Rights of Action. Except as otherwise provided in the Plan, or in any
contract, instrument, release, or other agreement entered into in connection with the Plan in
accordance with Section 1123(b) of the Bankruptcy Code, the Debtor shall retain and may enforce
any claims, rights and causes of action that the Debtor or the Estates may hold against any entity,
including, without limitation, any claims, rights or causes of action arising under Sections 544
through 551 or other sections of the Bankruptcy Code or any similar provisions of state law, or any
other statute or legal theory. The Debtor or any successor to or designee thereof may pursue those
rights of action, as appropriate, in accordance with what is in the best interests of the Debtor.

        6.4     Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered by
the Bankruptcy Court after notice and a hearing, objections by any party other than the Debtor to
filed Claims shall be Filed and served upon the holder of such Claim or Administrative Claim not
later than the Effective Date, unless this period is extended by the Court. Such extension may occur
ex parte. After the Effective Date, only the Debtor shall have the exclusive right to object to Claims.

                                    ARTICLE 7
                    FUNDING AND METHODS OF DISTRIBUTION AND
                  PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS
        7.1     The Debtor’s normal cash flow and proceeds from resolving its unliquidated claims
described in its Disclosure Statement shall be the sole source of funds for the payments to creditors




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authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The Debtor reserves the right to
sell collateral for the purpose of providing some funding for the Plan as the Debtor deems necessary.

        7.2     Cash Distributions. All Cash distributions made pursuant to the Plan shall be made by
the Debtor from the Chapter 11 estate. Any such payments may be made either by check or wire
transfer, at the option of the payor.

        7.3     Distribution Procedures. Except as otherwise provided in the Plan, all distributions of
Cash and other property shall be made by the Debtor on the later of the Effective Date or the date on
which such Claim is Allowed, or as soon thereafter as practicable. Distributions required to be made
on a particular date shall be deemed to have been made on such date if actually made on such date or
as soon thereafter as practicable. No payments or other distributions of property shall be made on
account of any Claim or portion thereof unless and until such Claim or portion thereof is allowed.

        7.4     Distributions to Holders of Allowed Administrative Expense Claims. Commencing
on the Effective Date, the Debtor shall, in accordance with Article 3 of the Plan, distribute to each
holder of a then unpaid Allowed Administrative Expense Claim in the Allowed amount of such
holder's Claim if and to the extent that the balance, if any, of such Claims is Allowed by Final Order.
The Debtor shall not tender a payment to the holders of Allowed Administrative Expense Claims
until all Disputed Claims that are alleged to be Administrative Claims have been allowed or
disallowed.

        7.5     Disputed Claims. Notwithstanding any other provisions of the Plan, no payments or
distributions shall be made on account of any Disputed Claim until such Claim becomes an Allowed
Claim, and then only to the extent that it becomes an Allowed Claim.

        7.6     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

                (a)      Delivery of Distributions in General.

        Distributions to holders of Allowed Claims shall be distributed by mail as follows: (1) at the
addresses set forth on the respective proofs of claim filed by such holders; (2) at the addresses set
forth in any written notices of address changes delivered to the Debtor after the date of any related
proof of claim; or (3) at the address reflected on the Schedule of Assets and Liabilities filed by the
Debtor if no proof of claim or proof of interest is Filed and the Debtor has not received a written
notice of a change of address.




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               (b)     Undeliverable Distributions.

                       (i) Holding and Investment of Undeliverable Property. If the distribution to
                       the holder of any Claim is returned to the Debtor as undeliverable, no further
                       distribution shall be made to such holder unless and until the Debtor is
                       notified in writing of such holder's then current address. Unclaimed Cash
                       shall be held in trust in a segregated bank account in the name of the Debtor,
                       for the benefit of the potential claimants of such funds, and shall be accounted
                       for separately.

                       (ii) Distribution of Undeliverable Property After it Becomes Deliverable and
                       Failure to Claim Undeliverable Property. Any holder of an Allowed Claim
                       who does not assert a claim for an undeliverable distribution held by the
                       Debtor within two years after the Effective Date shall no longer have any
                       claim to or interest in such undeliverable distribution, and shall be forever
                       barred from receiving any distributions under this Plan. In such cases, any
                       cash or securities held for distribution on account of such Claims shall
                       become property of the Debtor.

       7.7     Failure to Negotiate Checks. Checks issued in respect of distributions to holders of
Allowed Claims under the Plan shall be null and void if not negotiated within sixty (60) days after
the date of issuance. The Debtor shall hold any amounts returned to the Debtor in respect of such
checks. Requests for reissuance of any such check may be made directly to the Debtor by the holder
of the Allowed Claim with respect to which such check originally was issued. Any claim in respect
of such voided check is required to be made within six months of the original issuance date of the
check. Thereafter, all amounts represented by any voided check shall become unrestricted funds of
the Debtor. All Claims in respect of void checks and the underlying distributions shall be discharged
and forever barred from an assertion against the Debtor and its property.

       7.8     Compliance with Tax Requirements. In connection with the Plan, to the extent
applicable, the Debtor shall comply with all withholding and reporting requirements imposed on
them by any governmental unit, and all distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements.

        7.9    Setoffs. Unless otherwise provided in a Final Order or in this Plan, the Debtor may,
but shall not be required to, set off against any Claim and the payments to be made pursuant to the
Plan in respect of such Claim, any claims of any nature whatsoever the Debtor may have against the
holder thereof or its predecessor, but neither the failure to do so nor the allowance of any Claim


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hereunder shall constitute a waiver or release by the Debtor of any such Claims the Debtor may have
against such holder or its predecessor.


                                     ARTICLE 8
                         TREATMENT OF EXECUTORY CONTRACTS
                               AND UNEXPIRED LEASES

        8.1     Rejection of All Executory Contracts and Leases Not Assumed. The Plan constitutes
and incorporates a motion by the Debtor to reject, as of the Effective Date, all pre-petition executory
contracts and unexpired leases to which the Debtor are parties, except for any executory contract or
unexpired lease that (i) has been assumed or rejected pursuant to a Final Order, or (ii) is the subject
of a pending motion for authority to assume the contract or lease Filed by the Debtor prior to the
Confirmation Date. The Plan establishes a bar date for filing Rejection Claims not already barred.

        8.2     Bar Date for Filing of Rejection Claims. Any Claim for damages arising from the
rejection under this Plan of an executory contract or unexpired lease that was not subject to an earlier
bar date must be Filed within thirty (30) days after the mailing of notice of Confirmation or be
forever barred and unenforceable against the Debtor, the Estates, any of their affiliates and their
properties and barred from receiving any distribution under this Plan.


                                       ARTICLE 9
                             EFFECTS OF PLAN CONFIRMATION
        9.1     No Liability for Solicitation or Participation. As specified in section 1125(e) of the
Bankruptcy Code, Persons that solicit acceptances or rejections of the Plan and/or that participate in
the offer, issuance, sale, or purchase of securities offered or sold under the Plan, in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, are not liable, on account of such
solicitation or participation, for violation of any applicable law, rule, or regulation governing the
solicitation of acceptances or rejections of the Plan or the offer, issuance, sale, or purchase of
securities.

        9.2     Limitation of Liability. Neither the Debtor and any professional Persons retained by
them; any of their affiliates nor any of their officers, directors, partners, associates, employees,
members or agents (collectively the "Exculpated Persons"), shall have or incur any liability to any
Person for any act taken or omission made in good faith in connection with or related to the
Bankruptcy Case or actions taken therein, including negotiating, formulating, implementing,
confirming or consummating the Plan, the Disclosure Statement, or any contract, instrument, or other
agreement or document created in connection with the Plan. The Exculpated Persons shall have no



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liability to any Creditors or Equity Security Holders for actions taken under the Plan, in connection
therewith or with respect thereto in good faith, including, without limitation, failure to obtain
Confirmation of the Plan or to satisfy any condition or conditions, or refusal to waive any condition
or conditions, precedent to Confirmation or to the occurrence of the Effective Date. Further, the
Exculpated Persons will not have or incur any liability to any holder of a Claim, holder of an Interest,
or party-in-interest herein or any other Person for any act or omission in connection with or arising
out of their administration of the Plan or the property to be distributed under the Plan, except for
gross negligence or willful misconduct as finally determined by the Bankruptcy Court, and in all
respects such persons will be entitled to rely upon the advice of counsel with respect to their duties
and responsibilities under the Plan.

        9.3     Other Documents and Actions. The Debtor as Debtor-In-Possession may execute
such documents and take such other action as is necessary to effectuate the transactions provided for
in the Plan.

        9.4     Unless otherwise provided, all injunctions or stays provided for in the Reorganization
Case pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the
Confirmation Date shall remain in full force and effect until the Effective Date.

        9.5     So long as the Debtor’s Chapter 11 case is not dismissed, the protections afforded it
by 11 U.S.C. § 362 will remain in full effect to stay all collection actions of any pre-petition debts,
claims, liens, or other related occurrences against the Debtor, the bankruptcy estate, or property of
the bankruptcy estate for the pendency of its Chapter 11 Plan.

        9.6.    Stay on Governmental Units from Engaging in any Collection Action Against any
Responsible Persons During the Pendency of the Plan. Unless otherwise provided, all Governmental
Units, as defined by the Bankruptcy Code, are stayed from engaging in any collection action of any
nature against any employee, owner, manager, director, or principal of the Debtor relating to or
arising from a tax liability of the Debtor which is concurrently or jointly assessed against any
employee, owner, manager, director, or principal of the Debtor.

        This section applies to any non-debtors deemed a “responsible person” and assessed the Trust
Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the ordinary
course of operating its business. All Governmental Units must first look to the Debtor for satisfaction
of any such tax debts and then may only take collection action against any responsible person if the
Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court, the Debtor’s Plan fails to
provider for satisfaction of the amounts to which any non-debtor is jointly responsible, or the Debtor
has failed to cure any Plan default to that Governmental Unit, as described in Section 9.7.


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        9.7       Default and Opportunity to Cure.

        During the pendency of this Plan, should any party-in-interest aver that the Debtor has
materially defaulted to any of its obligations under this Plan, such party must give written
notice of the default to the Debtor and the Debtor’s Counsel listed below. The Debtor will have
21 days from receipt of the notice to cure any such default. If the Debtor fails to cure within
this 21-day deadline, the party giving notice of the default may proceed accordingly with any
legal rights available under applicable law.

                                     ARTICLE 10
                        CONFIRMABILITY OF PLAN AND CRAMDOWN
        10.1      Confirmability. In order to confirm the Plan, the Bankruptcy Code requires that the
Court make a series of findings concerning the Plan and the Debtor.

                  a.     Best Interests Test/Liquidation Analysis.

        Notwithstanding the acceptance of the Plan by each impaired class, Section 1129(a)(7) of the
Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best interests of
each holder of a claim or interest in an impaired class if any holder in that class has voted against the
Plan. Accordingly, if an impaired class under the Plan does not unanimously accept that Plan, the
"best interests" test requires that the Bankruptcy Court find that the Plan provides to each member of
such impaired class a recovery on account of the member's claim or interest that has a value, as of the
Effective Date, that is not less than the value of the distribution that each such member would receive
or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy Code commencing on the
Effective Date.

        To determine what members of each impaired class of claims would receive if the Debtor’s
estate was liquidated under Chapter 7, the Court must consider the values that would be generated
from a liquidation of the Debtor’s assets and properties in the context of a hypothetical liquidation
under Chapter 7.

        From a review of the Debtor’s assets and liabilities, it is apparent that liquidation would not
be a feasible solution to the repayment of the Debtor’s debts because many of the Debtor’s assets are
contingent in nature and require the Debtor’s current management’s expertise and knowledge of the
company business practices/history to collect. Further, the Debtor’s Plan provides for immediate
payment upon confirmation to SSG’s creditors, which would not be feasible in a Chapter 7 case
because the SSG’s largest asset is a disputed account receivable claim that needs litigation to collect.




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The Debtor has prepared a liquidation analysis which is attached to the Disclosure Statement as
Exhibit “E.”

        Thus, the Plan, which provides for the payment of secured and priority claims, retention of
the Debtor’s property, and provides a distribution to general unsecured creditors, is a superior option
to a Chapter 7 liquidation.

                b.      Feasibility.

        Section 1129(a)(11) of the Bankruptcy Code requires a finding that confirmation of the Plan
is not likely to be followed by the liquidation, or the need for further financial reorganization, of the
Debtor or any successor in interest, unless as here, liquidation is expressly contemplated by the Plan.
The Debtor believes that it will be able to perform its obligations under the Plan and that therefore
the Plan is feasible within the meaning of Section 1129(a)(11) of the Bankruptcy Code.

        While SIC and SSGWWJV will liquidate, the Debtor expects SSG’s business to become both
profitable and its revenues predictable following confirmation of its Plan. For the foreseeable period
to come following confirmation of its Plan, the Debtor projects steady revenue and expenses. The
Debtor has prepared financial statements which are attached to the Disclosure Statement as follows:
the Debtor’s Profit and Loss Statements for 2015-2018 are Exhibit “F”; and the Debtor’s Projected
Profit and Loss Statement for 2019-2023 (on a quarterly basis) are Exhibit “G.” The details of this
case strongly support the feasibility of the proposed Plan.

                c.      Classification.

        Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification of
claims. Section 1122(a) provides that claims or interest may be placed in a particular class only if
they are substantially similar to the other claims or interest in that class. The Debtor believes that all
Classes under the Plan satisfy the requirements of Section 1122(a). The Debtor believes that the
classification of Claims set forth in the Plan is appropriate in classifying substantially similar Claims
together, and does not discriminate unfairly in the treatment of those Classes. The Debtor believes
that the Plan adheres to the absolute priority rule and treats holders of Claims and Interests in
accordance with their contractual entitlement and applicable law.


        10.2    Non-Consensual Confirmation.
        The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting
the acceptances of insiders). These so-called "cramdown" provisions are set forth in Section 1129(b)



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of the Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if, in addition
to satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is "fair and
equitable" and (ii) "does not discriminate unfairly" with respect to each Class of Claims or Interests
that is impaired under, and has not accepted, such Plan.

        1.      Fair and Equitable Standard.

        With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
requires, among other things, that the Plan contain one of two elements. It must provide either that
each unsecured creditor in the Class receive or retain property having a value, as of the Effective
Date, equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests in
any junior Class may receive or retain any property on account of such Claims or Interest. The strict
requirements as to the allocation of full value to dissenting Classes before junior Classes can receive
a distribution are known as the "absolute priority rule." In addition, the "fair and equitable" standard
has also been interpreted to prohibit any class senior to a dissenting class from receiving under a plan
more than one hundred percent (100%) of its Allowed Claims.

        2.      The Plan Must Not Discriminate Unfairly.

        As a further condition to approving a cramdown, the Bankruptcy Court must find that the
Plan does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of Reorganization
does not "discriminate unfairly" if (a) the Plan does not treat any dissenting impaired Class of Claims
or Interests in a manner that is materially less favorable than the treatment afforded to another Class
with similar legal Claims against or Interests in the Debtor and (b) no Class receives payments in
excess of that which it is legally entitled to receive for its Claims or Interests. The Debtor believes
that the Plan does not discriminate unfairly as to any impaired Class of Claims or Interests.


        If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the right
to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section 1129(b)
of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity Interests that
are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court confirm the Plan
pursuant to Section 1129(b) of the Bankruptcy Code.




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                                        ARTICLE 11
                                 RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective Date,
the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the Effective
Date as is legally permissible, including, without limitation, jurisdiction to:

        11.1    Allow, disallow, determine, liquidate, classify or establish the priority or secured or
unsecured status of or estimate any Claim or Interest, including, without limitation, the resolution of
any request for payment of any Administrative Claim or Indenture Trustee expenses and the
resolution of any and all objections to the allowance or priority of Claims or Interests;

        11.2    Grant or deny any and all applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods
ending on or before the Effective Date;

        11.3    Resolve any motions pending on the Effective Date to assume, assign or reject any
executory contract or unexpired lease to which the Debtor is a party or with respect to which the
Debtor may be liable and to hear, determine and, if necessary, liquidate, any and all Claims arising
there from;

        11.4    Ensure that distributions to holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan;

        11.5    Decide or resolve any and all applications, motions, adversary proceedings, contested
or litigated matters and any other matters or grant or deny any applications involving the Debtor that
may be pending on the Effective Date;

        11.6    Enter such Orders as may be necessary or appropriate to implement or        consummate
the provisions of the Plan and all contracts, instruments, releases, and other agreements or documents
created in connection with the Plan or the Disclosure Statement;

        11.7    Resolve any and all controversies, suits or issues that may arise in connection with
the consummation, interpretation or enforcement of the Plan or any entity's obligations incurred in
connection with the Plan, including the provisions of Article 9 hereof;

        11.8    Modify the Plan before or after the Effective Date pursuant to Section 1127 of the
Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release, or
other agreement or document created in connection with the Plan or the Disclosure Statement; or
remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court Order, the



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Plan, the Disclosure Statement or any contract, instrument, release, or other agreement or document
created in connection with the Plan or the Disclosure Statement, in such manner as may be necessary
or appropriate to consummate the Plan, to the extent authorized by the Bankruptcy Code;

        11.9    Issue injunctions, enter and implement other orders or take such other actions as may
be necessary or appropriate to restrain interference by any entity with consummation or enforcement
of the Plan;

        11.10 Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

        11.11 Determine any other matters that may arise in connection with or relate to the Plan,
the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or other
agreement or document created in connection with the Plan or the Disclosure Statement; and

        11.12 Enter an order concluding the Reorganization Case.

        If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
jurisdiction over any matter arising out of the Reorganization Case, including, without limitation, the
matters set forth in this Article, this Article shall have no effect upon and shall not control, prohibit,
or limit the exercise of jurisdiction by any other court having competent jurisdiction with respect to
such matter.


                                        ARTICLE 12
                                 MISCELLANEOUS PROVISIONS

        12.1    Fractional Dollars. Any other provision of the Plan notwithstanding, no payments of
fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment of a
fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the actual
payment made will reflect a rounding of such fraction to the nearest whole dollar (up or down).

        12.2    Modification of Plan. The Debtor reserves the right, in accordance with the
Bankruptcy Code, to amend or modify the Plan prior to the entry of the Confirmation Order. After
the entry of the Confirmation Order, the Debtor may, upon order of the Bankruptcy Court, amend or
modify the Plan in accordance with Section 1127(b) of the Bankruptcy Code, or remedy any defect
or omission or reconcile any inconsistency in the Plan in such manner as may be necessary to carry
out the purpose and intent of the Plan.

        12.3    Withdrawal of Plan. The Debtor reserves the right, at any time prior to entry of the
Confirmation Order, to revoke or withdraw the Plan. If the Debtor revokes or withdraws the Plan


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under this Section 12.3 or if the Effective Date does not occur, then the Plan shall be deemed null and
void. In that event, nothing contained in the Plan shall be deemed to constitute a waiver or release of
any Claims by or against the Debtor or any other person, or to prejudice in any manner the rights of
the Debtor or any other person in any further proceedings involving the Debtor.

        12.4    Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy Rules
are applicable, the rights and obligations arising under the Plan shall be governed by, and construed
and enforced in accordance with the laws of the State of Alabama, without giving effect to the
principles of conflicts of law thereof.

        12.5    Time. In computing any period of time prescribed or allowed by this Plan, the day of
the act, event, or default from which the designated period of time begins to run shall not be
included. The last day of the period so computed shall be included, unless it is not a Business Day or,
when the act to be done is the filing of a paper in court, a day on which weather or other conditions
have made the clerk's office inaccessible, in which event the period runs until the end of the next day
which is not one of the aforementioned days. When the period of time prescribed or allowed is less
than eight days, intermediate days that are not Business Days shall be excluded in the computation.

        12.6    Payment Dates. Whenever any payment to be made under the Plan is due on a day
other than a Business Day, such payment will instead be made, without interest, on the next Business
Day.

        12.7    Headings. The headings used in this Plan are inserted for convenience only and do
not constitute a portion of the Plan or in any manner affect the provisions of the Plan.

        12.8    Successors and Assigns. The rights, benefits and obligations of any entity named or
referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

        12.9    Severability of Plan Provisions. If prior to Confirmation any term or provision of the
Plan, which does not govern the treatment of Claims or Interests or the conditions of the Effective
Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court
shall have the power to alter and interpret such term or provision to make it valid or enforceable to
the maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the
terms and provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall



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constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.

        12.10 No Admissions. Notwithstanding anything herein to the contrary, nothing contained
in the Plan shall be deemed as an admission by the Debtor with respect to any matter set forth herein,
including, without limitation, liability on any Claim or the propriety of any Claims classification.

        12.11 Notices. Notices to be provided under this Plan must be transmitted in writing to the
Debtor at both addresses that follow:

        Sarai Services Group, Inc., et al.
        c/o Their Attorneys
        SPARKMAN, SHEPARD & MORRIS, P.C.
        P.O. Box 19045
        Huntsville, AL 35804

                and

        Sarai Services Group, Inc., et al.
        3405 Triana Boulevard SW
        Huntsville, AL 35805




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       Respectfully submitted this the 14th day of October, 2019.


SARAI SERVICES GROUP, INC.                    SSGWWJV LLC


/s/ J. Calvin Mitchell                        /s/ J. Calvin Mitchell
J. Calvin Mitchell, President                 J. Calvin Mitchell, President


                                              SARAI INVESTMENT CORPORATION

                                              /s/ J. Calvin Mitchell
                                              J. Calvin Mitchell, President




                                              /s/ Tazewell T. Shepard III
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys for the Debtor

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P. O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: (256) 512-9924
                                              Fax: (256) 512-9837


                                   CERTIFICATE OF SERVICE

       This is to certify that this the 14th day of October, 2019, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and the
Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF system
and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                              /s/ Tazewell T. Shepard IV
                                              OF COUNSEL




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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 3                      )
                                                         )        Case No.: 18-82948-CRJ-11
        EIN: xx-xxx2969                                  )
                                                         )
        Debtor.                                          )        CHAPTER 11
                                                         )

              BALLOT FOR ACCEPTING OR REJECTING PLAN OF DEBTORS
                  SARAI SERVICES GROUP, INC., SSGWWJV LLC, AND
                         SARAI INVESTMENT CORPORATION

                Filed By                                                                  .

        THE   PLAN REFERRED TO IN THIS BALLOT CAN BE CONFIRMED BY THE                      COURT AND
THEREBY MADE BINDING ON YOU IF IT IS ACCEPTED BY THE HOLDERS OF                          TWO- THIRDS IN
AMOUNT AND MORE THAT ONE-HALF IN NUMBER OF CLAIMS IN EACH CLASS AND THE HOLDERS
OF TWO-THIRDS IN AMOUNT OF EQUITY SECURITY INTERESTS IN EACH CLASS VOTING ON THE
PLAN.   IN   THE EVENT THE REQUISITE ACCEPTANCES ARE NOT OBTAINED, THE                        COURT   MAY
NEVERTHELESS CONFIRM THE PLAN IF THE              COURT      FINDS THAT THE PLAN ACCORDS FAIR AND
EQUITABLE TREATMENT TO THE CLASS OR CLASSES REJECTING IT AND OTHERWISE SATISFIES
THE REQUIREMENTS OF         § 1129(B )   OF THE   CODE. TO      HAVE YOUR VOTE COUNT YOU MUST
COMPLETE AND RETURN THIS BALLOT.




                                [If holder of scheduled or filed claim]

      The undersigned,        as a creditor of the above-named debtor in the unpaid principal
amount of $                     with filed proof of claim #____________.

                                       [If equity security holder]

        The undersigned, the holder of [state number]                    shares of [ describe
type]                                          stock of the above named debtor, represented by
Certificate(s) No.            [or held in my/our brokerage Account No.                  at
[name of broker-dealer]                                            .



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        In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV LLC, Case No.
18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
82951-CRJ-11.


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                                   [Check One Box]



       Accepts the Plan of Reorganization

      Rejects the Plan of Reorganization




                                 Dated:

                                 Print or type name:

                                 Signed:

                                 [if appropriate] By:

                                 as:


       IN ORDER TO BE COUNTED, BALLOTS MUST BE SIGNED AND RETURNED SO
THAT THEY ARE RECEIVED BY THE U.S. BANKRUPTCY COURT NO LATER THAN
4:30 P.M. CENTRAL STANDARD TIME ON THE DATE SET BY THE COURT (THE
"VOTING DEADLINE”), TO:

     Clerk’s Office
     U.S. Bankruptcy Court
     400 Well Street, NE # 222
     Decatur, AL 35601-1951




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